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 8                           UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
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11   AXS GROUP LLC,                               Case No. 2:24–CV–00377–SPG (Ex)
12                            Plaintiff,          ORDER GRANTING STIPULATION
                                                  TO EXTEND TIME FOR
13            v.                                  DEFENDANT INTERNET REFERRAL
14   INTERNET REFERRAL SERVICES,                  SERVICES, LLC TO RESPOND TO
     LCC, EVENT TICKETS CENTER, INC.,             COMPLAINT
15   VERIFIED-TICKET.COM, AMOSA.APP
16   and SECURE.TICKETS,
17                            Defendants.
18         On March 27, 2024, Plaintiff AXS Group LLC and Defendant Internet Referral
19   Services, LLC filed a Stipulation to Extend Time for Defendant Internet Referral
20   Services, LLC to Respond to Complaint.
21         The Court, having considered the Parties’ Stipulation and finding good cause
22   therefor, hereby GRANTS the Stipulation and ORDERS as follows:
23         The deadline for Defendant Internet Referral Services, LLC to respond to the
24   Complaint in this matter is extended from March 29, 2024 to April 29, 2024.
25         IT IS SO ORDERED.
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27   Dated: March 27, 2024
28                                         HON. SHERILYN PEACE GARNETT
                                           UNITED STATES DISTRICT JUDGE


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